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     BOSCH SOLAR ENERGY
12   CORPORATION

13                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
14
     STEVE R. ROJAS and ANDREA N.
15   ROJAS, on behalf of themselves and all      Case No. 5:18-cv-05841-BLF
     others similarly situated,
16                                               DECLARATION OF JOSEPH C. WYLIE
                          Plaintiffs,            IN SUPPORT OF PLAINTIFFS’ MOTION
17                                               FOR FINAL APPROVAL OF CLASS
     vs.                                         SETTLEMENT
18
     BOSCH SOLAR ENERGY                          CLASS ACTION
19   CORPORATION; and DOES 1-20,
     inclusive,
20                                               The Hon. Judge Beth Labson Freeman
                          Defendants.
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                                                                              5:18-cv-05841-BLF
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 1          I, Joseph C. Wylie, declare and state as follows:

 2          1.      I am an attorney licensed to practice in the State of Illinois, and have been admitted pro

 3   hac vice to practice law in this action pending in the United States District Court for the Northern

 4   District of California. I am a partner in the law firm of K&L Gates LLP, and counsel of record for

 5   defendant Bosch Solar Energy Corporation in the above-captioned action.

 6          2.      I make this Declaration in support of Plaintiffs’ Motion for Final Approval of Class

 7 Settlement. As to the following facts, I know them to be true of my own knowledge and, if called as a

 8 witness, could and would competently testify thereto.

 9                                    INSTALLER-DISTRIBUTOR SUBPOENAS

10          3.      My office has diligently attempted to obtain the name and full contact information

11   (including street address and email address) for the members of the class of plaintiffs in the above-

12   captioned Lawsuit. In order to provide notice to the class members, we identified resellers, distributors,

13   and/or installers of Bosch c-Si M 60 NA30119 solar panels (the “Bosch Solar Panels”) and issued

14   subpoenas seeking their identification of anyone to whom they sold or for whom they installed Bosch

15   Solar Panels. The following is a complete list of the 13 installers to whom we served a Subpoena to

16   Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

17   (the “Subpoena”) and the number of Bosch Solar Panels we believe were sold, distributed, and/or

18   installed by each:

19                  a.      AMECO Solar LLC (14 Panels)

20                  b.      Green Solar Technologies, Inc. (f/k/a “American Solar Solution, Inc.”) (1,096

21                          Panels)

22                  c.      Citi Green, Inc. (14 Panels)

23                  d.      PacificSky Solar, LLC (formerly ADR Electric, Inc.) (142 Panels)

24                  e.      Solar Alliance of America, Inc. (358 Panels)

25                  f.      TMAG Industries, Inc. (d/b/a Stellar Solar Electric) (102 Panels)

26                  g.      Direct Power and Water Corporation (“DPW Electric”) (414 Panels)

27                  h.      DwellTek Solar, LLC (611 Panels)

28                  i.      Esmay Electric, Inc. (42 Panels)
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 1                  j.      Shaw Solar & Energy Conservation LLC (28 Panels)

 2                  k.      Solar Direct LLC (48 Panels)

 3                  l.      The Tri-M Group, LLC (unknown)

 4                  m.      Clean Power Construction LLC (503 Panels)

 5          4.      Following receipt of the Subpoenas, the six following entities provided responses

 6   without threat of instituting litigation to compel compliance. Five of these entities produced the names

 7   and contact information of potential class members and representing 1,139 Bosch Solar Panels:

 8                  a.      Citi Green, Inc.

 9                  b.      Solar Alliance of America, Inc. These documents were obtained only after

10                          counsel for Bosch Solar traveled to San Diego, California and conducted a

11                          search for the documents contained in a storage locked owned by Solar Alliance

12                          of America, Inc.

13                  c.      DwellTek Solar, LLC.

14                  d.      PacificSky Solar, LLC (formerly ADR Electric, Inc.).

15                  e.      AMECO Solar LLC. Because of the time that has passed and the change in

16                          ownership of the company, AMECO Solar LLC could only locate documents

17                          identifying persons and/or entities for whom it made proposals for sale of Bosch

18                          Solar Panels and believed that this was an over-inclusive list of persons and/or

19                          entities who actually received Bosch Solar Panels. Notice was provided to all

20                          of the persons and/or entities identified.

21                  f.      Solar Direct LLC. Solar Direct LLC responded to the Subpoena and stated that

22                          it conducted a search for responsive materials but could not locate any

23                          responsive records.

24          5.      We instituted proceedings to compel the production of documents against the following

25   sellers, distributors, and/or installers in the United States District Courts for the Southern District of

26   California, Central District of California, District of Colorado, and Eastern District of Pennsylvania:

27                  a.      Green Solar Technologies, Inc. (f/k/a “American Solar Solution, Inc.”)

28                  b.      TMAG Industries, Inc. (d/b/a Stellar Solar Electric)
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 1                  c.      Clean Power Construction LLC

 2                  d.      Shaw Solar & Energy Conservation LLC

 3                  e.      Tri-M Group, LLC

 4             6.   After instituting these proceedings, we received the names and contact information for

 5   potential class members from the following four entities, representing more than 971 Bosch Solar

 6   Panels:

 7                  a.      TMAG Industries, Inc. (d/b/a Stellar Solar Electric).

 8                  b.      Clean Power Construction LLC (which disclosed installation of all its modules

 9                          in a single ground-mounted commercial installation).

10                  c.      Shaw Solar & Energy Conservation LLC.

11                  d.      Tri-M Group, LLC (which disclosed a single purchaser of 338 Bosch Solar

12                          Panels).

13             7.   The United States District Court for the Central District of California, Sothern Division

14   issued an order on January 17, 2012 compelling Green Solar Technologies, Inc. to produce documents

15   on or before, January 31, 2013. Following receipt of this order, Green Solar Technologies, Inc. agreed

16   to search for responsive documents but advised that, after conducting a search, it could not locate any

17   responsive documents.

18             8.   In addition to the thirteen entities that we successfully served, we attempted but were

19   ultimately unable to serve four entities, representing 213 Bosch Solar Panels, after taking the following

20   steps:

21                  a.      Applied Solar Energy Solutions (36 Panels). This entity is not registered with

22                          any Secretary of State. We first attempted service on the address listed online

23                          and on its LinkedIn profile. The current occupant advised the process server

24                          that they did not know Applied Solar Energy Solutions. We issued a second

25                          subpoena to the person listed on LinkedIn as the company’s CEO and President,

26                          David A. Donnelly. The process server attempted service on two occasions, but

27                          on both occasions the occupant of this address stated that David Donnelly was

28                          out of town and that she was not authorized to accept service.
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 1                 b.      Gen819, Inc. (f/k/a “Maedl Solar”) (130 Panels). We attempted service at the

 2                         address for Gen819’s registered agent. The process server spoke with the

 3                         current occupant, who stated that he did not know Gen819 or its registered

 4                         agent. We emailed Gen819 at an email address listed on its website

 5                         (sales@gen819.com) and attached a letter notifying Gen819 of the Subpoena,

 6                         but received no response.

 7                 c.      Sunpro Solar, Inc. (44 Panels). We attempted service at the address listed on

 8                         Sunpro Solar Inc.’s website, but the process server found the location to be

 9                         empty. We then attempted service at its registered agent’s address, but received

10                         a notice of rejected service from the registered agent stating that the registered

11                         agent no longer represents Sunpro Solar, Inc.

12                 d.      Active Solar, Inc. (3 Panels). We attempted service on Active Solar’s registered

13                         agent, but the registered agent told the process server that they are no longer the

14                         registered agent for Active Solar Inc., and could not accept service on their

15                         behalf. We then attempted service on the owner of Active Solar, Inc.,

16                         Christopher James, but after numerous attempts of service, the process server

17                         was unable to make contact with anyone at the property. We spoke to the owner

18                         on the telephone and he agreed to search for documents, however, he never

19                         produced documents nor responded to our further inquiries. We set multiple

20                         follow-up emails and never received a response.

21           9.    In total, we obtained the names and contact information for potential class members

22   representing more than 2,010 Bosch Solar Panels. This information was provided to the Notice

23   Provider, along with the names and addresses of 90 persons who were identified during the Recall but

24   who did not respond to prior notice provided to them; Bosch Solar believes that these individuals may

25   have purchased up to 2,230 Bosch Solar Panels.

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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3          Executed on this 23th day of March, 2023.
                                                        By: /s/ Joseph C. Wylie
 4                                                             Joseph C. Wylie
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